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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

NICK PHILKO,

                          Plaintiff,                         Case No.: 13-CV-__________

v.                                                           Hon.: ___________________

SET SEG INSURANCE SERVICES
AGENCY, INC. d/b/a SET SEG,

                          Defendant.


 VAN SUILICHEM & ASSOCIATES, P.C.                                KLUCZYNSKI, GIRTZ, VOGELZANG
 By: Donald A. Van Suilichem (P25632)                            By: William Vogelzang Jr. (P29231
 and Kelly A. Van Suilichem (P69902)                             Mark T. Ostrowski (P49761)
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                                 COMPLAINT AND JURY DEMAND

         NOW COMES Plaintiff, NICK PHILKO, by and through his attorney, DONALD A. VAN

SUILICHEM of Van Suilichem & Associates, P.C., and for his Complaint against Set Seg

Insurance Services Agency, Inc., d/b/a Set Seg, (“Set Seg”), states as follows:

                                       JURISDICTION AND VENUE

1.       Plaintiff brings this action under the Americans with Disabilities Act, 42 U.S.C. Section

         12101, et seq. (“ADA”).

2.       This Court has jurisdiction pursuant to the following statutes:



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         a. 28 U.S.C. Section 1331, which gives district courts original jurisdiction over civil

             actions arising under the Constitution, laws or treaties of the United States;

         b. 28 U.S.C. Section 1343 (3) and (4) which gives district court jurisdiction over actions

             to secure civil rights extended by the United States government;

3.       Venue is appropriate in this judicial district under 28 U.S.C. Section 1391 (b) because

         Plaintiff is a resident within the district, Plaintiff was employed by Defendant in a sales

         territory which included Southeastern Michigan and Defendant systematically conducts

         business within the district.

                                                    PARTIES

4.       Plaintiff is a citizen of the United States and resides in the County of Oakland, State of

         Michigan, which is in this judicial district.

5.       Defendant is a for profit corporation with its principal place of business located at 415 W.

         Kalamazoo Street, Lansing, Michigan 48933.

                                     STATUTORY PREREQUISITES

6.       On March 22, 2012, Plaintiff filed a timely Charge of Disability Discrimination with the

         Equal Employment Opportunity Commission (Charge #471-2012-01599) alleging that his

         February 1, 2012 discharge violated his rights under the ADA.

7.       On May 16, 2012, Plaintiff filed an Amended Charge with the EEOC alleging retaliation

         for opposing discrimination in violation of the ADA.

8.       On January 5, 2013, the EEOC issued to Plaintiff a Right to Sue Notice.

9.       This Complaint is filed within the 90-day limitation period.




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                                         GENERAL ALEGATIONS

10.      Plaintiff was hired by Defendant effective Tuesday, January 3, 2012 as an Account

         Executive. Plaintiff was assigned a territory consisting of Southeastern Michigan and the

         Thumb area. Plaintiff was introduced to employees and asked to become knowledgeable

         with Set Seg policies and procedures. Plaintiff had lunch with several employees on

         January 3, 2012 all of who seemed to be very friendly and welcoming.

11.      On Wednesday, January 4, 2012, Plaintiff and his manager Scott Fritz went on a road trip

         to four school districts. Following the meetings, Fritz provided his feedback of the

         meetings as part of the Set Seg training program. Other than providing some general

         feedback, Fritz indicated no problems with the performance of Plaintiff. In fact, Fritz was

         upbeat on Plaintiff’s employment prospects.

12.      On Thursday, January 5, 2012, Plaintiff experienced a seizure type of event while at the

         Defendant’s home office in Lansing. This event affected his eyesight, speech and body

         coordination. After recovering his faculties, Plaintiff left the Set Seg office in Lansing and

         sought medical treatment at Beaumont Hospital where he spent the night undergoing tests.

         Plaintiff advised Fritz of his seeking medical treatment and the status of his condition.

13.      On Friday, January 6, 2012, Plaintiff was released from Beaumont Hospital and spent the

         day at home recovering from the seizure the previous day. Plaintiff kept his supervisor

         Scott Fritz, Sales Manager, advised of the status of his medical condition. Fritz encourage

         Plaintiff to rest and not come into work. Plaintiff noticed the Fritz’s tone was very formal

         and did not have the warmth previously exhibited by Fritz.

14.      Plaintiff returned to work on Monday, January 9, 2012 and went on sales calls with Scott

         Fritz. Unlike the previous week, Fritz was very cool to Plaintiff and seemed angry with



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         Plaintiff. Plaintiff apologized for his seizure and having to leave work. Fritz didn’t want

         to talk about the Plaintiff’s medical condition. Fritz’ demeanor, tone of voice and overall

         attitude towards Plaintiff was a sharp departure from his former attitude towards Plaintiff.

         The only thing that changed between the previous Wednesday and Monday was the fact

         that Plaintiff had his seizure on Thursday.

15.      On Tuesday, January 10, 2012 Plaintiff was called into an unannounced meeting with Fritz

         and Carl Fry, who had been previously introduced to me as a human resources consultant

         for Set Seg. Fry seemed to lead the conversation pressing Plaintiff to divulge his medical

         condition and past health issues. While he stated that he was concerned about Plaintiff’s

         health and safety, the tone was more of concern for the Company and the liability should

         Plaintiff have another seizure and the impact on his co-workers. Plaintiff explained that

         the seizure was caused by the fact the he had failed to take his medication for several days

         and instead had left the medication in his car. Plaintiff left the meeting with the feeling

         that his job was in jeopardy and that if he had another seizure he would be fired. Company

         liability and the impact of a seizure if meeting with a client was the major theme of this

         meeting rather than a real concern about Plaintiff’s health or any accommodation that they

         could provide to assist him.

16.      Following the meeting, Fritz advised Plaintiff that he should stay home to study for the

         Property and Casualty insurance exam. Fritz did, however, relent and allowed Plaintiff to

         come to the office periodically to interact with his co-employees regarding the business.

         While Plaintiff appreciated the time to study, it appeared that Fritz just didn’t want Plaintiff

         in the office.




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17.      Fritz scheduled a sales meeting for Friday, January 20, 2012 but told Plaintiff that he did

         not need to attend. Plaintiff advised Fritz that he thought it was important to attend these

         meetings. Fritz finally relented and allowed Plaintiff to attend the sales meeting but did

         not appear to be pleased that Plaintiff would be in the office.

18.      Following the January 10, 2012 health interrogation meeting, Plaintiff visited clients with

         Fritz on January 25, 2012.

19.      During the three times that Fritz rode with Plaintiff, he used the opportunity following the

         meetings to provide feedback. Fritz described it as the normal training feedback to help

         Plaintiff learn the “Set Seg” way of selling insurance. While Fritz raised some issues he

         emphasized that they were minor in nature and that overall he was impressed with Plaintiff

         and his job knowledge and contacts. The demeanor of Fritz seemed to improve during the

         ride on January 25, 2012 and Plaintiff continued to work with Fritz.

20.      Plaintiff was scheduled to ride with Fritz on Friday, January 27, 2012. Fritz instructed

         Plaintiff to stay home to study for the Property and Casualty insurance exam scheduled for

         the following Monday. Fritz said it was more important to pass the exam. Fritz did not

         indicate any concerns over Plaintiff’s performance. Plaintiff was left with the impression

         that Fritz was pleased with his performance to date and he wanted to put the exam behind

         them so that he could devote 100% of his time to his sales duties.

21.      On Monday, January 30, 2012, Plaintiff took the Property and Casualty exam.

22.      On Tuesday, January 31, Plaintiff met with Fritz at approximately 8:00 AM to discuss

         Plaintiff’s business plan and strategy for moving forward with his job. While Fritz had

         been cool towards Plaintiff since his seizure in January, he seemed much more engaged in

         plans for Plaintiff’s development and getting his actively out into the field. Plaintiff was



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         left with the impression of a very positive meeting with Fritz and Plaintiff’s concerns about

         being terminated because of his seizure seemed to be behind him.

23.      Set Seg had scheduled a major client conference at the Renaissance Center in Detroit for

         Wednesday, February 1, 2012. Fritz discussed Plaintiff’s role at the meeting and seemed

         eager to get Plaintiff before the clients.

24.      Plaintiff left the meeting on January 31, 2012 and returned to the Southeastern Michigan

         area to meet with individuals who had contacts with local schools.

25.      At approximately 3:30 PM on Janury 31, 2012Plaintiff had an automobile accident at the

         corner of Woodward and Maple in Birmingham when he failed to stop fast enough when

         the car in front of him stopped suddenly.

26.      Plaintiff followed the procedures of Set Seg and reported the accident to the proper

         authorities. He also advised Fritz of the accident by voice mail and e-mail.

27.      Fritz did not call Plaintiff back.

28.      On Tuesday, January 31, 2012, Fritz sent a text to Plaintiff at approximately 9:00 PM

         advising him that he would meet him at the Renaissance Center in Detroit on Wednesday,

         February 1, 2012 at 11:00 instead of at the client conference that afternoon as scheduled.

         Fritz indicated no reason for the special meeting. Plaintiff had been scheduled to attend a

         conference at the Renaissance Center on February 1, 2012. Plaintiff asked Fritz if the

         meeting was because of the auto accident. Fritz denied any connection but refused to give

         the reason for the conference.

29.      At approximately 11:00 on Wednesday, February 1, 2012 Plaintiff appeared at the meeting

         hastily called by Fritz. Fritz advised Plaintiff that he was being terminated because “you

         just didn’t fit in.” No mention was made to performance issues and no specifics were



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         provided as to why Plaintiff did not fit in. Fritz advised Plaintiff that the Company would

         continue his pay and health insurance benefits through the end of February.

30.      On Saturday, February 4, 2012, Plaintiff sent an e-mail to Fritz confirming the offer to

         continue his pay and benefits through February. Fritz did not respond.

31.      On Monday, February 6, 2012 at approximately 1:02 PM Fritz responded to Plaintiff’s e-

         mail stating: “I will have Lexi draft this letter and send. Nick I enjoyed getting to know

         you and wish you the best.” Fritz did not deny that the offer was for salary and benefits

         through the end of February.

32.      On Wednesday, February 8, 2012 at approximately 8:29 AM, counsel for Plaintiff sent an

         e-mail to Tim Averill at Set Seg advising of the representation of Plaintiff and that he was

         investigating a potential claim of an ADA violation as a result of Plaintiff’s termination.

         Averill was asked to confirm the offer to continue salary and benefits through the end of

         February. Set Seg failed to respond on February 8, 2012.

33.      On Thursday, February 9, 2012, at approximately 12:13 PM Plaintiff again asked Set Seg

         to confirm the agreement to pay his salary and health insurance through the end of

         February.

34.      On Thursday, February 9, 2012 at approximately 12:53 PM Fritz for the first time

         responded to Plaintiff’s request for confirmation of the agreement and denied that he

         offered to pay Plaintiff through the end of February.

35.      Despite the promises on health insurance continuation, Plaintiff learned on Monday,

         February 6, 2012 that his health insurance had in fact been terminated.

36.      Defendant Set Seg ultimately restored Plaintiff’s health insurance though the end of

         February but only continued Plaintiff’s salary through February 15, 2012.



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37.      By letter dated February 21, 2012, Plaintiff requested the initiation of Step 1 of the Set Seg

         Employee Complaint and Problem Solving Procedure to review the termination decision.

38.      On February 29, 2012, counsel for Set Seg responded to the request for Step 1 initiation by

         denying his request.

39.      On March 8, 2012, Plaintiff sent a second request to Lexi Borne at Set Seg requesting

         initiation of Step 1 of the Procedure.

40.      On March 19, 2012, counsel for Set Seg responded again denying the request for a meeting.

                                 COUNT I-VIOLATION OF THE ADA

41.      Plaintiff reincorporates by reference his allegations contained in Paragraph 1 through 40 as

         if restated herein.

42.      Plaintiff’s medical condition constitutes a handicap protected under the ADA.

43.      Defendant made the decision to terminate Plaintiff’s employment because of his handicap

         or alternatively because they considered him to be handicapped in violation of the ADA.

44.      Defendant made no attempt to reasonably accommodate Plaintiff’s medical condition in

         violation of the ADA.

                   COUNT II RETALIATION IN VIOLATION OF THE ADA

45.      Plaintiff reincorporates by reference his allegations contained in Paragraph 1 through 44 as

         if restated herein.

46.      On February 1, 2012, Plaintiff was promised salary continuation and continuation of health

         insurance benefits through the end of February, 2012.

47.      Following notice that Plaintiff was pursuing protection of rights under the ADA, Defendant

         breached its promise to continue Plaintiff’s salary through February 2012 in retaliation for

         Plaintiff asserting his rights under the ADA.



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48.      Following notice that Plaintiff was pursuing protection of rights under the ADA, Defendant

         breached its Employee Complaint and Problem-Solving Procedure by denying him the

         right to raise issues relating to his termination in retaliation for Plaintiff asserting his rights

         under the ADA.

WHEREFORE, Plaintiff requests this Court to award him back pay and future pay and future

benefits, emotional distress damages and award to him his costs and attorney fees.



                                               JURY DEMAND

Plaintiff demands trial by jury of his claims for violation of his rights under the ADA and for

retaliation in violation of the ADA for asserting protection under the ADA.

                                                        Respectfully Submitted,

                                                        VAN SUILICHEM & ASSOCIATES, P.C.

                                                        By: s/Donald A. Van Suilichem
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